Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 1 of 15                       PageID 3718




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

  FAVIAN BUSBY, ET AL.,               )
                                      )
        Plaintiff,                    )
                                      )
  vs.                                 )     No.: 2:20-CV-02359-SHL
                                      )
  FLOYD BONNER, JR., ET AL.,          )
                                      )
        Defendants.                   )
  ______________________________________________________________________________

               MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                       TERMINATE THE CONSENT DECREE
  ______________________________________________________________________________

         Defendants, Floyd Bonner, Jr., Shelby County Sheriff and the Shelby County Sheriff’s

  Office (“SCSO”) (collectively referred to as “Defendants”), by and through their undersigned

  counsel, file this memorandum of law in support of their Motion to Terminate the Consent Decree.

         I.      PROCEDURAL HISTORY

         Plaintiffs originally initiated this case against Defendants as a class action, “challenging

  the constitutionality and legality of Plaintiffs’ continued detention [in the Shelby County Jail (“the

  Jail”)] in light of the COVID-19 pandemic.” (“Consent Decree,” ECF No. 161-2, PageID 3204.)

  In response to Plaintiffs’ allegations, Defendants denied they violated Plaintiffs’ constitutional or

  statutory rights. To the contrary, Defendants asserted that they implemented numerous practices

  and procedures to appropriately combat and prevent the spread of COVID-19 in the Jail and that

  Plaintiffs’ detention was therefore, lawful. (ECF No 27; ECF No. 161, PageID 3185.)

         From the outset of the case, the parties engaged in extensive written and oral discovery.

  Nonetheless, at the time the parties entered into mediation in mid-December, 2020, much

  discovery remained to be undertaken. In an effort to avoid the “burden, expense, and disruption”
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 2 of 15                           PageID 3719




  of such “protracted litigation,” the parties reached a resolution of the case after participating in

  three days of mediation. (ECF No. 161-2, PageID 3204.) Specifically, the parties agreed to the

  entry of a Consent Decree (“the Decree”). (Id.)

             The Court preliminarily approved the Decree on January 28, 2021. (ECF No. 162.) On

  March 5, 2021, the Court held a hearing on the parties’ motion to approve the class settlement.

  During the hearing, the Court voiced concerns over whether notice had been sufficiently provided

  the class members. (ECF No. 181.) In light of those concerns, the Court ordered a one-page notice

  be distributed to each individual detainee in the Jail. (ECF No. 177.) The parties subsequently

  submitted a revised one-page notice which the Court approved on March 15, 2021. (ECF No. 181.)

  The Jail then distributed the one-page notice to all detainees in the Jail in accordance with the

  Court’s March 15, 2021, Order.

             On April 9, 2021, the Court held a final approval hearing, found notice had been properly

  afforded the class and sub-class members, and approved the settlement. (ECF No. 209.) The Court

  noted that it had received “approximately 70 letters from detainees following distribution of the

  One-Page Notice,” but that none of the objections demonstrated that the settlement was “unfair,

  unreasonable, or inadequate.” (Id.)

       II.          CONSENT DECREE

             To ensure the Decree’s compliance with federal law, the parties specifically noted within

  the Decree itself that it complied with 18 U.C.S. § 3626(a)(1)(A), which provides:

             Prospective relief in any civil action with respect to prison conditions shall extend
             no further than necessary to correct the violation of the Federal right of a particular
             plaintiff or plaintiffs. The court shall not grant or approve any prospective relief
             unless the court finds that such relief is narrowly drawn, extends no further than
             necessary to correct the violation of the Federal right, and is the least intrusive
             means necessary to correct the violation of the Federal right. The court shall give
             substantial weight to any adverse impact on public safety or the operation of a
             criminal justice system caused by the relief.
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 3 of 15                        PageID 3720




  (ECF No. 161-2, ¶ 31, PageID 3211; 18 U.C.S. § 3626(a)(1)(A).) Accordingly, the provisions in

  the Decree were “narrowly drawn” to protect the alleged federal rights violations raised by

  Plaintiffs in the lawsuit. Indeed, any reading of the Decree that would extend the protections

  granted beyond those necessary to correct the alleged violations of Plaintiffs’ federal rights would

  effectively violate 18 U.S.C. § 3626(a)(1)(A).

         When addressing alleged constitutional deprivations wherein plaintiff-inmates have

  refused to accept medical care, courts have explained that “the consequences of voluntary conduct”

  negates a constitutional claim. Musterd v. R.I. Dep’t of Health, 2017 U.S. Dist. LEXIS 198422,

  *12 (D.R.I. Aug. 29, 2017) (citing Legate v. Livingston, 822 F.3d 207, 210 (5th Cir. 2016)

  (“[C]ircuits that have addressed the issue have held that a prisoner cannot establish a violation

  where he willingly participates in the conduct giving rise to his injury.”). Indeed, it is well-settled

  that there can be no constitutional deprivation wherein plaintiff-inmates have refused to accept

  medical care. See Palmer v. Wagner, 3 F. App’x 329, 331 (6th Cir. 2001); see also Meeks v.

  Skipper, 2020 U.S. Dist. LEXIS 158963, at *24 (W.D. Mich. July 30, 2020).

         Accordingly, in entering into the Consent Decree, the parties understood that by being

  offered a COVID-19 vaccine, a detainee could no longer assert that his constitutional or other

  statutory rights were being violated due to being incarcerated during the COVID-19 pandemic. In

  such an event, any danger posed to him by COVID-19 could be eliminated by his own, personal

  choice to accept a vaccine. Since the parties entered into the Consent Decree, numerous district

  courts have confirmed that an inmate-plaintiff cannot sustain a claim seeking release due to

  dangers created by COVID-19 if jail officials have offered him a vaccine. See e.g., United States

  v. Cesario, 2021 U.S. Dist. LEXIS 102122, *4 (D. Minn. June 1, 2021) (noting, “Courts have

  found that a risk of serious complications from COVID‐19 is not extraordinary and compelling
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 4 of 15                     PageID 3721




  when experienced by a vaccinated inmate.”); Harp v. Nagy, 2021 U.S. Dist. LEXIS 93710, at *22

  (E.D. Mich. May 18, 2021) (denying a petition for habeas corpus because the prison had begun

  offering COVID-19 vaccines, thus negating the suggestion that the plaintiff was at risk of harm.);

  United States v. Jackson, 2021 U.S. Dist. LEXIS 39807, at *4 (D. Minn. Mar. 3, 2021) (“While

  [an inmate] is within his rights to refuse any treatment he wishes to forego, he cannot

  simultaneously claim that he must be released because of the risk of complications while refusing

  a vaccine that could virtually eliminate that risk.”).

         Importantly, the question concerning whether a detainee’s constitutional rights are being

  violated does not turn on whether other detainees accept a COVID-19 vaccination. Though

  Plaintiffs brought this case as a class action, whether a detainee’s constitutional rights are being

  violated is an individualized inquiry. See e.g., Robertson v. Lucas, 753 F.3d 606, 615 (6th Cir.

  2014). In light of such understanding and in an effort to ensure compliance with 18 U.S.C. §

  3626(a)(1)(A), the parties agreed that the Decree should terminate once detainees were provided

  access to a COVID-19 vaccine, whether or not they accepted one. Specifically, Paragraph 28 of

  the Decree states:

         This Decree will terminate upon the earliest of either (a) a declaration by the CDC
         Tennessee Department of Health that the COVID-19 pandemic is over and/or has
         ended, or (b) an FDA-approved COVID-19 vaccine is offered to and administered
         according to FDA guidelines to all detainees housed at the Jail for a period of more
         than fourteen (14) days and who accept a vaccination, along with educational
         materials about the vaccine and non-punitive incentives to take the vaccine. Upon
         termination of this Decree pursuant to this Paragraph, the parties shall inform the
         Court and the Court shall enter a final judgment of dismissal.

  (ECF No. 161-2, PageID 3210, ¶ 28.) Notably, the Decree does not specify a particular kind of

  educational materials or non-punitive incentives that must be offered to detainees, nor does it

  require a specific number of detainees accept a vaccine to trigger termination. Such prerequisites

  would extend protections to Plaintiffs beyond those necessary to correct the alleged violations of
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 5 of 15                                         PageID 3722




  their federal rights and would, therefore, violate 18 U.S.C. § 3626(a)(1)(A). As set forth above,

  once a vaccine is offered to detainee, he can no longer assert his rights are being violated due to

  his own choice to refuse vaccination.

           As set forth by Paragraph 28 of the Decree, in the event that the Decree terminates, the

  parties “shall inform the Court and the Court shall enter a final judgment of dismissal.” (Id.)1

           III.     GROUNDS FOR TERMINATION

           Because Defendants have satisfied the provisions of Paragraph 28(b) of the Decree, the

  Decree should be terminated.

           A.       The Jail has offered and administered and will continue to offer and
                    administer a COVID-19 vaccine to detainees.

           To date, every detainee who has been housed at the Jail for longer than fourteen days that

  has requested a COVID-19 vaccine has been provided a COVID-19 vaccine 2 in compliance with



  1
    Counsel for Defendants previously provided Plaintiffs’ counsel information concerning the vaccine program
  implemented at the Jail and informed Plaintiffs’ counsel of Defendants’ position that the Decree has terminated.
  Counsel for Defendants have continued to provide Plaintiffs’ counsel with additional information concerning the
  evolution of the Jail’s vaccine program in an effort to reach an agreement concerning termination. Instead of agreeing
  to inform the Court of the Decree’s termination as contemplated by the Decree, Plaintiffs moved to modify the
  termination provision of the Decree. (ECF No. 216-1.)
  2
    Within a footnote of their recently-filed Memorandum of Law in Support of Plaintiffs’ Motion to Enforce and Modify
  the Consent Decree (ECF No. 216-2, n. 7.), Plaintiffs appear to attempt to avoid termination based upon the COVID-
  19 vaccines provided by the Jail “[s]trickly speaking,” not being “FDA-approved.” As a threshold matter, Plaintiffs’
  counsel has never mentioned, raised, or even referenced any such issue during any of the numerous communications
  between the parties at any time. Moreover, when discussing the reason(s) that Plaintiffs’ counsel did not agree with
  termination during the meet and confer on April 16, 2021, Plaintiffs’ counsel only expressed concern with the
  administration of the vaccine (Pfizer-BioNTech Covid-19 vaccine) being provided, as said vaccine required two (2)
  doses and as the detainees had only received their first dose as of that date. Additionally, when discussing the reason(s)
  that Plaintiffs’ counsel did not agree with termination during a subsequent meet and confer on May 6, 2021, Plaintiffs’
  counsel only expressed concern with the educational materials about the vaccine and the non-punitive incentives to
  take the vaccine being provided to detainees within the Jail. Furthermore, courts have recognized that the Pfizer-
  BioNTech Covid-19 vaccine, the vaccine that was administered initially within the Jail, and the Johnson &
  Johnson/Jansen COVID-19 vaccine, the vaccine that is currently being administered within the Jail, have both been
  approved for use by the FDA. See Williams v. Rodriguez, 2021 U.S. Dist. LEXIS 96443, *21 (D. Conn May 21, 2021)
  (“At the time of this decision, much more is known about the virus, PPE and testing is both widely available and used,
  and highly effective COVID-19 vaccines have been FDA approved for approximately six months.”); see also Wyckoff
  v. Warden, Belmont Corr. Inst., 2021 U.S. Dist. LEXIS 45410, *1 (S.D. Ohio March 11, 2021) (“[I]t is well-settled
  that federal courts may take judicial notice of proceedings in other courts of record.”) (citing United States v. Mont,
  723 Fed. Appx. 325, 327 n.3 (6th Cir. 2018)). Any attempt to now “strictly” interpret the Decree’s termination
  provision to require that the Jail provide a COVID-19 vaccine that has fully undergone the FDA’s formal approval
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 6 of 15                                    PageID 3723




  Food and Drug Administration (“FDA”) guidelines.3 (Dec. of Fields, ¶ 30.)

           Specifically, in mid-April of 2021, the SCSO, in coordination with Wellpath, implemented

  a COVID-19 vaccine program whereby all detainees who desire a COVID-19 vaccine are provided

  a COVID-19 vaccine in accordance with FDA guidelines, all detainees are provided educational

  materials concerning the COVID-19 vaccine, and all detainees are informed of and provided non-

  punitive incentives after receiving a COVID-19 vaccine. (Dec. of Fields, ¶ 5.) The Jail’s vaccine

  program has continuously evolved since its inception. (Dec. of Fields, ¶ 5.)

           In order to offer the vaccine to each and every detainee in the Jail, during the weeks of

  April 3, 2021, and April 10, 2021, Jail personnel personally asked each detainee housed in the Jail

  about whether he desired to receive a COVID-19 vaccine. (Dec. of Fields, ¶ 6.) Specifically, the

  Jail provided every detainee a “Shelby County Sheriff’s Office Inmate COVID 19 Testing

  Acknowledgement Form,” whereby each detainee could indicate whether he did or did not want

  to receive a COVID-19 vaccine along with a vaccine announcement. (Dec. of Fields, ¶ 6.)

  Additionally, during the weeks of April 3, 2021, and April 10, 2021, the Jail provided all detainees

  access to educational materials concerning the benefits of receiving a COVID-19 vaccine. (Dec.




  process is nonsensical and such a reading would result in the Decree violating 18 U.S.C. § 3626(a)(1)(A) as outlined
  above.
  3
    All currently authorized and recommended COVID-19 vaccines are safe and effective. See e.g., CDC, Understanding
  How COVID-19 Vaccines Work (updated May 27, 2021) https://www.cdc.gov/coronavirus/2019-
  ncov/vaccines/different-vaccines/how-they-work.html. Further, everyone 12 years of age and older is eligible to get a
  COVID-19 vaccination. See e.g., CDC, Your COVID-19 Vaccination, https://www.cdc.gov/coronavirus/2019-
  ncov/vaccines/your-vaccination.html. Per the CDC, once an individual is fully vaccinated, he can “resume activities”
  that he “did prior to the pandemic.” Id. The first COVID-19 vaccine approved by the FDA for emergency use
  authorization was the Pfizer-BioNTech COVID-19 Vaccine, which was approved December 11, 2020. See Pfizer
  BioNTech COVIDF-19 Vaccine, FDA.Gov, available at: https://www.fda.gov/emergency-preparedness-and-
  response/coronavirus-disease-2019-covid-19/pfizer-biontech-covid-19-vaccine (last visited May 12, 2021). One week
  later to Moderna COVID-19 vaccine was approved; Modern COVID-19 Vaccine, FDA.Gov, available at:
  https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/moderna-covid-19-
  vaccine (last visited May 12, 2021); and then the Janssen COVID-19 Vaccine, commonly referred to as the Johnson
  & Johnson Vaccine, became available February 27, 2021. Janssen COVID-19 Vaccine, FDA.Gov, available at:
  https://www.fda.gov/emergency-preparedness-and-response/coronavirus-disease-2019-covid-19/janssen-covid-19-
  vaccine (last visited May 12, 2021).
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 7 of 15                     PageID 3724




  of Fields, ¶ 6.) The Jail and WellPath then scheduled those detainees who wished to receive a

  COVID-19 vaccine, to receive a vaccine on April 15, 2021. (Dec. of Fields, ¶ 6.)

          Since the week of April 10, 2021, all new detainees have been, and moving forward, all

  new detainees will continue to be, asked at booking if they have been fully vaccinated. (Dec. of

  Fields, ¶ 7.) If a new detainee has not been fully vaccinated, he is asked whether he wishes to be

  vaccinated. (Dec. of Fields, ¶ 7.) Medical staff schedule any new detainee who expresses a desire

  to be vaccinated for vaccination. (Dec. of Fields, ¶ 7.) Said vaccination is scheduled and provided

  as soon as possible and never beyond fourteen (14) days of the detainee’s entry into the Jail.

  (Dec. of Fields, ¶ 7.)

          Any detainee who initially declines the vaccine, but subsequently desires to become

  vaccinated, is permitted to request the vaccine via a sick call request. (Dec. of Fields, ¶ 8.) Upon

  such a request, Wellpath will schedule the detainee to receive a COVID-19 vaccine. (Dec. of

  Fields, ¶ 8.) If the vaccine administered to a specific detainee requires two doses, the second

  dose will be scheduled for the detainee immediately upon him receiving the first dose. (Dec. of

  Fields, ¶ 8.) If a detainee is released from the Jail prior to receiving the second dose, vaccine

  cards and second dose information are placed in the detainee’s property, which will be provided

  to them upon their release and will allow them to receive the second dose from an outside

  medical provider. (Dec. of Fields, ¶ 8.)

          Detainees are not charged for receiving the COVID-19 vaccine. (Dec. of Fields, ¶ 9.)

  Likewise, detainees are not charged for any necessary follow-up medical care related to

  receiving the COVID-19 vaccine. (Dec. of Fields, ¶ 9.)

          Originally, the Jail intended to offer the Johnson & Johnson/Jansen COVID-19 vaccine

  to detainees who accepted a vaccine. (Dec. of Fields, ¶ 20.) However, on April 13, 2021, two (2)
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 8 of 15                    PageID 3725




  days prior to the first scheduled administration of COVID-19 vaccines with the Jail, the FDA

  and the Centers for Disease Control and Prevention (“CDC”) issued an immediate pause on

  administering said vaccine. (Dec. of Fields, ¶ 20.) Accordingly, prior to the first administration

  of COVID-19 vaccines, the Jail transitioned to utilizing the Pfizer-BioNTech Covid-19 vaccine,

  which requires an individual to receive two separate shots at least twenty-one (21) days apart.

  (Dec. of Fields, ¶ 20.)

         In accordance with the above vaccine program, on April 15, 2021, Wellpath administered

  the first dose of the Pfizer-BioNTech Covid-19 vaccine to all detainees that indicated they desired

  a COVID-19 vaccine. (Dec. of Fields, ¶ 21.) On that date, a total of 190 detainees received their

  first dose of the Pfizer-BioNTech Covid-19 vaccine. (Dec. of Fields, ¶ 21.)

         Since that time, the Jail has continued to offer COVID-19 vaccines to all detainees housed

  in the Jail, and the Jail has continued to coordinate the administration of COVID-19 vaccines to

  all detainees who desire to be vaccinated. (Dec. of Fields, ¶ 22.) On April 22, 2021, eighteen (18)

  detainees who wished to receive a COVID-19 vaccine were provided their first dose of the Pfizer-

  BioNTech Covid-19 vaccine. (Dec. of Fields, ¶ 23.) All of said detainees were provided fresh fruit

  after accepting the vaccine. (Dec. of Fields, ¶ 23.) On April 29, 2021, twenty-one (21) detainees

  who wished to receive a COVID-19 vaccine were provided their first dose of the Pfizer-BioNTech

  Covid-19 vaccine. (Dec. of Fields, ¶ 24.) All of said detainees were provided fresh fruit after

  accepting the vaccine. (Dec. of Fields, ¶ 24.)

         On May 10, 2021, all detainees who received the first dose of the Pfizer-BioNTech Covid-

  19 vaccine on April 15, 2021, and who remained incarcerated in the Jail, received their second

  dose of the Pfizer-BioNTech Covid-19 vaccine. (Dec. of Fields, ¶ 25.) Additionally, on May 10,

  2021, eleven (11) detainees who wished to receive a COVID-19 vaccine were provided the
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 9 of 15                       PageID 3726




  Johnson & Johnson/Jansen COVID-19 vaccine. 4 (Dec. of Fields, ¶ 27.) All of said detainees were

  provided fresh fruit after accepting the vaccine. (Dec. of Fields, ¶¶ 25, 27.)

         On May 20, 2021, all detainees who received the first dose of the Pfizer-BioNTech Covid-

  19 vaccine on April 22, 2021, or on April 29, 2021, and who remained incarcerated in the Jail

  received their second dose of the Pfizer-BioNTech Covid-19 vaccine. (Dec. of Fields, ¶ 28.)

  Additionally, on May 20, 2021, eleven (11) detainees who wished to receive a COVID-19 vaccine

  were provided the Johnson & Johnson/Jansen COVID-19 vaccine. (Dec. of Fields, ¶ 28.) All of

  said detainees were provided fresh fruit after accepting the vaccine. (Dec. of Fields, ¶ 28.)

         The Jail will continue to offer and coordinate the administration of COVID-19 vaccines in

  compliance with FDA guidelines. (Dec. of Fields, ¶ 29.) To date, every detainee who has been

  housed at the Jail for longer than fourteen days that has requested a COVID-19 vaccine has been

  provided a COVID-19 vaccine in compliance with FDA guidelines. (Dec. of Fields, ¶ 30.)

         B.      The Jail has provided and will continue to provide educational materials
                 concerning the COVID-19 vaccine to detainees.

         In its endeavors to administer as many vaccines to detainees as possible, the Jail has

  provided and will continue to provide all detainees access to a variety of educational materials

  which supply detainees with information about the COVID-19 vaccine, including its benefits.

  (Dec. of Fields, ¶ 10.) For example, on April 26, 2021, and on April 27, 2021, the Jail provided

  each and every detainee educational materials explaining the benefits of COVID-19 that were

  originally provided to the SCSO by the Independent Inspector, Mike Brady. (Dec. of Fields, ¶

  10.) Specifically, the Jail provided all detainees a copy of materials concerning the COVID-19

  vaccine produced by Amend, a public health-focused program from the University of California,



  4
   On April 23, 2021, the FDA and CDC approved resuming the use of the Johnson & Johnson/Jansen COVID-19
  vaccine. (Dec. of Fields, ¶ 26.)
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 10 of 15                     PageID
                                    3727



San Francisco. (Dec. of Fields, ¶ 10.) The Jail has also posted the Amend educational materials

in all housing units, and additional copies of the Amend educational materials are available to

detainees at guard stations at each of the housing units upon request. (Dec. of Fields, ¶ 10.) No

detainee has been or will be prohibited from viewing any posted educational materials. (Dec. of

Fields, ¶ 10.) Additionally, since April 27, 2021, all new detainees have been provided a copy of

the Amend educational materials upon their entry into the Jail. (Dec. of Fields, ¶ 10.)

       To further educate the detainees about the benefits of accepting a COVID-19 vaccine,

the Jail began displaying a video informing detainees generally about COVID-19 within each of

the housing units. (Dec. of Fields, ¶ 11.) The Jail will continue to display said video within each

of the housing units at least twice a day. (Dec. of Fields, ¶ 11.) Additionally, on May 12, 2021,

the Jail began to display within each of the housing units, at least twice a day, a video featuring

President Barack Obama, Shaquille O’Neal, and Charles Barkley encouraging individuals to

accept a COVID-19 Vaccine. (Dec. of Fields, ¶ 12.) The Jail will continue to display said video

within each of the housing units at least twice a day. (Dec. of Fields, ¶ 12.)

       On May 17, 2021, the Jail began utilizing regular “town hall” meetings held within the

Jail’s housing units as means to further educate detainees about receiving a COVID-19 vaccine

and to encourage detainees to accept a COVID-19 vaccine. (Dec. of Fields, ¶ 13.) During these

meetings, medical personnel inform detainees about the COVID-19 vaccine as well as the

importance of receiving the COVID-19 vaccine. (Dec. of Fields, ¶ 13.) The attending medical

personnel also remain available to answer any questions posed by the detainees concerning the

COVID-19 vaccine, its effects, and its benefits. (Dec. of Fields, ¶ 13.) The Jail will continue to

utilize these “town hall” meetings on weekly basis moving forward to continue to educate

detainees on the COVID-19 vaccine. (Dec. of Fields, ¶ 13.)
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 11 of 15                      PageID
                                    3728



       Anytime a detainee wishes to file a sick call request, commissary request, other inmate

request, and/or a grievance, he must do so through an electronic kiosk. (Dec. of Fields, ¶ 14.)

Kiosks are available in each of the housing units. (Dec. of Fields, ¶ 14.) On May 21, 2021, the

Jail uploaded a prompt to the kiosks throughout the Jail that provides detainees further

educational information concerning COVID-19 vaccines and encourages detainees to accept a

COVID-19 vaccine. (Dec. of Fields, ¶ 14.) In order to proceed with making any type of

request/filing on a kiosk, detainees now must first sign an acknowledgment that they viewed the

information contained within the prompt on the kiosk. (Dec. of Fields, ¶ 14.)

       In addition to pre-vaccine educational materials, the Jail is also providing detainees who

receive the vaccination, post-vaccination educational materials. (Dec. of Fields, ¶ 15.)All

detainees that have accepted a COVID-19 vaccine have been provided a copy of said post-

vaccination educational materials. (Dec. of Fields, ¶ 15.)

       C.      The Jail has offered and will continue to offer non-punitive incentives to
               detainees who accept the COVID-19 vaccine.

       To encourage detainees to accept a COVID-19 vaccine, the Jail is offering and will

continue to offer detainees non-punitive incentives to take the vaccine. (Dec. of Fields, ¶ 16.) On

April 26, 2021, and on April 27, 2021, the Jail provided each and every detainee a Vaccine

Announcement. (Dec. of Fields, ¶ 16.) As noted within the Vaccine Announcement, no punitive

action has been or will be taken based upon a detainee’s request to receive a vaccine, a detainee’s

housing unit will not be changed based upon vaccination, all detainees who accept a COVID-19

vaccine will receive fresh fruit on the day of or on the day following their vaccination, and all

detainees will be provided free access to follow-up medical care if they suffer discomfort

resulting from their COVID-19 vaccination. (Dec. of Fields, ¶ 16.) The Jail has also posted the

Vaccine Announcement in all housing units and further copies of the Vaccine Announcement
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 12 of 15                       PageID
                                    3729



are available to detainees at guard stations at each of the housing units upon request. (Dec. of

Fields, ¶ 16.) No detainee has been or will be prohibited from viewing the posted Vaccine

Announcement. (Dec. of Fields, ¶ 16.) Additionally, since May 21, 2021, all new detainees have

been provided a copy of the Vaccine Announcement upon their entry into the Jail. (Dec. of Fields,

¶ 16.)

         In May of 2021, the City of Memphis initiated “Shot for Shot” sweepstakes whereby

Shelby County residents who receive a COVID-19 vaccine prior to May 31, 2021, become

eligible to enter the sweepstakes. (Dec. of Fields, ¶ 17.) The grand prize is a new Chevrolet

Camaro, Chevrolet Colorado, Nissan Rogue, Nissan Altima, or any other vehicle of equal value.

(Dec. of Fields, ¶ 17.) On May 21, 2021, in effort to provide further incentive to detainees at the

Jail to accept a COVID-19 vaccine, the Jail informed all detainees of the sweepstakes via

announcements as well as postings throughout the Jail. (Dec. of Fields, ¶ 17.) To date, all eligible

detainees are entered into the sweepstakes, and the Jail will allow any future detainees who are

eligible to enter the sweepstakes as well. (Dec. of Fields, ¶ 17.)

         The Jail is also providing monetary incentive to detainees to accept a COVID-19 vaccine.

(Dec. of Fields, ¶ 18.) From June 1, 2021, through June 30, 2021, the Jail is offering each detainee

who accepts a COVID-19 vaccine twenty dollars ($20.00). (Dec. of Fields, ¶ 18.) The funds will

be placed in each detainee’s commissary account shortly after he receives a COVID-19 vaccine.

(Dec. of Fields, ¶ 18.) On May 26, 2021, the Jail informed all detainees that they would receive

$20.00 in their commissary account upon accepting a COVID-19 vaccine via an announcement

uploaded to the kiosks and posted in each of the housing units. (Dec. of Fields, ¶ 18.) The Jail will

also retroactively provide each detainee who received a COVID-19 vaccine prior to June 1, 2021,

and who is still housed in the Jail, twenty dollars ($20.00) in his commissary account. (Dec. of
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 13 of 15                        PageID
                                    3730



Fields, ¶ 18.) The Jail will visibly award the $20.00 credit via paper certificates during a pod’s

recreation time to incentivize other detainees to accept a COVID-19 vaccine. (Dec. of Fields, ¶

18.)

       Furthermore, detainees who suffer post-vaccine discomfort can gain access to any needed

medical care via sick call requests and/or by directly engaging with nurses, who enter each

housing unit at least one (1) to two (2) times per day. (Dec. of Fields, ¶ 19.) Additionally, for a

period of forty-eight (48) hours after detainees receive a vaccine, during their daily housing unit

visits, nurses follow-up with each detainee who received a vaccine in-person and inquire whether

the detainee is suffering any discomfort. (Dec. of Fields, ¶ 19.) If a detainee is suffering any post-

vaccine discomfort, the nurse assists him by providing him with an appropriate amount of oral

pain relief medication or by affording him any other medically necessary treatment/care free of

charge. (Dec. of Fields, ¶ 19.)

       IV.     CONCLUSION

       The Court should declare that the Decree has terminated. As set forth above, the Jail has

offered and administered an FDA-approved COVID-19 vaccine according to FDA guidelines to

all detainees housed at the Jail for a period of more than fourteen (14) days and who accept a

vaccination, along with educational materials about the vaccine and non-punitive incentives to

take the vaccine. Thus, the provisions of Paragraph 28 have been satisfied. Additionally, by being

offered a COVID-19 vaccine, Plaintiffs no longer possess any reasonable basis to assert that their

constitutional or statutory rights are being violated. Based upon the overwhelming understanding

that COVID-19 vaccines are safe and that they effectively eliminate the risks posed by COVID-

19, once a detainee accepts a COVID-19 vaccine, the risk posed to him is eliminated. Whether a

detainee accepts a vaccine remains his own choice. However, Defendants should no longer be
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 14 of 15                      PageID
                                    3731



bound by the terms of the Consent Decree that was designed to protect alleged constitutional and

statutory rights violations Plaintiffs can no longer assert.

       Based upon the above and upon the record as a whole, Defendants respectfully request that

this Court find that they have satisfied the provisions of Paragraph 28(b) of the Decree and declare

that the Consent Decree (ECF No. 161-2) has terminated.

                                       Respectfully submitted,

                                       PENTECOST, GLENN & MAULDIN, PLLC

                               By:     s/Nathan D. Tilly
                                       James I. Pentecost (#11640)
                                       Nathan D. Tilly (#31318)
                                       J. Austin Stokes (#31308)
                                       162 Murray Guard Drive, Suite B
                                       Jackson, Tennessee 38305
                                       (731) 668-5995

                                       AND

                                       Marlinee C. Iverson (#18591)
                                       Bridgett L. Stigger (#29415)
                                       Shelby County Attorney’s Office
                                       160 North Main Street, Suite 950
                                       Memphis, TN 38103
                                       (901) 222-2100

                                       Attorneys for Respondents-Defendants
Case 2:20-cv-02359-SHL-atc Document 218-1 Filed 06/02/21 Page 15 of 15                  PageID
                                    3732




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served via electronic mail, upon the following:

 Amreeta Mathai                                  Meredith Borner
 Andrea Woods                                    David C. Kimball-Stanley
 Nancy Rosenbloom                                Paul, Weiss, Rifkind, Wharton & Garrison, LLP
 ACLU                                            1285 Avenue of the Americas
 125 Broad Street                                New York, NY 10019
 New York, NY 10004

 Brice Moffatt Timmons                           Zoe Brennan-Krohn
 Donati Law, PLLC                                ACLU
 1545 Union Ave.                                 39 Drumm Street
 Memphis, TN 38104                               San Francisco, CA 94111

 Stella Marie Yarbrough                          Joshua B. Spickler
 ACLU                                            JUST CITY
 210 25th Avenue N.                              902 South Cooper
 P.O. Box 120160                                 Memphis, TN 38104
 Nashville, TN 37212
                                                 Steven John Mulroy
 Maria Morris                                    Cecil C. Humphreys School of Law,
 ACLU                                            University of Memphis
 National Prison Project                         1 N. Front St.
 915 15th St. NW                                 Memphis, TN 38103
 Ste 7th Floor
 Washington, DC 20005

 Joseph J. Bial
 Paul, Weiss, Rifkind, Wharton & Garrison, LLP
 2001 K. Street, NW
 Washington, DC 20006


       on or before the date above.

       DATE: This the 2nd day of June, 2021.


                                           By:     s/Nathan D. Tilly
                                                   Nathan D. Tilly
